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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

MMR CONSTRUCTORS, INC.,                                :   CIV. NO. 22-267
                                                       :
        Plaintiff,                                     :
                                                       :
VERSUS                                                 :   JUDGE BRIAN A. JACKSON
                                                       :
JB GROUP OF LA, LLC D/B/A                              :
INFRASTRUCTURE SOLUTIONS                               :
GROUP et al.                                           :   MAGISTRATE JUDGE RICHARD L.
                                                       :   BOURGEOIS, JR.
        Defendants.


                   ANSWERS TO DEFENDANT JASON YATES’S
         FIRST SET OF INTERROGATORIES TO MMR CONSTRUCTORS, INC

        NOW INTO COURT, through undersigned counsel, comes Plaintiff MMR Constructors,

Inc. (“MMR”), which in response to Defendant, Jason Yates’s (“Yates”) First Set of

Interrogatories, respectfully submits the following:

INTERROGATORY NO. 1:

        Please describe whether MMR prohibits possession of MMR trade secrets or confidential

business information on any device or account that cannot be accessed remotely by the company,

and if so, when such prohibition was put in place?

        ANSWER TO INTERROGATORY NO. 1:

        MMR prohibits the possession of its trade secrets and confidential business information

for any purpose that is not for the benefit of MMR and prohibits the retention of such

information after an individual’s employment with MMR ends. This prohibition is set forth in

the confidentiality agreements that MMR’s employees sign, including the individual defendants

in this case. Further, all MMR employees were subject to MMR’s Security Policy, which was

adopted in 2019. The Security Policy states, in pertinent part: “Users are prohibited from using

personal third-party cloud storage services including, but not limited to, OneDrive, Google

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Drive, Dropbox, or Box to store MMR documents. MMR documents must remain on MMR

systems. These services must only be used to receive documents sent by customers, partners, and

vendors.” It further states: “MMR staff may only use removable media provided by MMR in

their work computers. MMR removable media may not be connected to or used in computers

that are not owned or leased by MMR without explicit permission from the MMR Information

Security staff. Sensitive information should be stored on removable media only when required in

the performance of your assigned duties or when providing information required by other MMR

departments. When sensitive information is stored on removable media, it must be encrypted in

accordance with MMR Acceptable Encryption Policy. This can be accomplished using the

BitLocker drive encryption tool in Windows. A strong password that meets the MMR Password

Construction Guidelines must be used as the encryption key.”

INTERROGATORY NO. 2:

        Please describe whether MMR prohibits the transmission of MMR trade secret or

business confidential information through personal email, text or SMS, or social media

platforms, and if so, when such prohibition was put in place?

        ANSWER TO INTERROGATORY NO. 2:

        MMR prohibits the possession of its trade secrets and confidential business information

for any purpose that is not for the benefit of MMR and prohibits the retention of such

information after an individual’s employment with MMR ends. Further, MMR refers to its

answer to Interrogatory No. 1.




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INTERROGATORY NO. 3:

        Please describe whether MMR uses a VPN or other secured portal in conjunction with

two-step or multi-factor authentication for any remote access to MMR’s network and if so, when

such precautions were put in place.

        ANSWER TO INTERROGATORY NO. 3:

        Yes. VPN connectivity is required for access from any IP address outside of MMR’s

internal network. Beginning in 2013, MMR began to require VPN connectivity with the

implementation of Citrix Netscaler, and in 2021, MMR adopted Microsoft’s “Always On VPN”

to give employees using MMR-owned equipment access to systems without going through Citrix

Netscaler authentication.

INTERROGATORY NO. 4:

        Please describe whether MMR has required any of its employees to sign non-

competition, non-solicitation agreements, or other documents containing non-competition or

non-solicitation clauses from 2015 to present? If so, identify such contracts and documents by

the employee position, employee name, and date.

        ANSWER TO INTERROGATORY NO. 4:

        MMR does not require its employees to sign non-competition agreements. MMR,

however, requires that its employees sign non-disclosure agreements and acknowledgements

about conflict-of-interest and business-ethics policies. MMR refers Mr. Yates to the previously

produced employment policy packet that includes these documents that he signed and that ISG

copied and used.




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INTERROGATORY NO. 5:

        Please Identify and describe in detail each instance in which You have communicated

with any MMR customers or vendors about Lawsuit or the allegations of this Lawsuit, including,

but not limited to, the Identity of the subject customer or vendor, the Identity of the MMR

individuals involved in the Communication, and a description of the specific statements made by

You in the Communication.

        ANSWER TO INTERROGATORY NO. 5:

        MMR objects to this request because it is not proportional to the needs of the case. The

request does not seek any information that tends to prove or negate an issue of fact relating to a

cause of action or defense in this case. Further, MMR has thousands of employees and numerous

customers (current, former, and/or prospective), and the time and effort to interview every

employee would be exorbitant. Accordingly, the time and expense far outweigh any potential

probative value of the information requested, and this interrogatory is therefore not tailored in a

proportional manner.

INTERROGATORY NO. 6:

        Provide the names and email addresses of all persons, vendors, subcontractors,

consultants and/or entities that MMR did not require to execute or agree to a non-disclosure

and/or confidentiality agreement prior to the release of MMR’s confidential business information

or trade secrets to such person, vendor, subcontractor, consultant, and/or entity.

        ANSWER TO INTERROGATORY NO. 6:

        MMR objects to this interrogatory in seeking information about “all persons”—within the

over thirty years of MMR’s existence—as not proportional to the needs of the case. Subject to

and without waiving this objection, MMR states that the identified trade secrets and confidential



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business information in this case was not generally known and was not authorized to be shared

without an agreement or understanding that the information was to remain confidential and to

benefit MMR — not a competitor such as ISG.

INTERROGATORY NO. 7:

        Please Identify any employees who have left MMR’s employment, from 2021 forward,

by the employee position, employee name, and date, the stated reasons for leaving, and the

individual’s next employer(s) after MMR.

        ANSWER TO INTERROGATORY NO. 7:

        MMR objects to this interrogatory as not proportional to the needs of the case. The

names, position, termination date, and reason for leaving of individuals whose employment

ended during a three-year period has no probative value, as it does not tend to prove or disprove

any relevant facts in this case.

INTERROGATORY NO. 8:

        Identify and describe all complaints you received from any customers in the last twelve

months, for each of the Subject Customers and Projects.

        ANSWER TO INTERROGATORY NO. 8:

        The evidence in this case demonstrates that ISG has used MMR’s trade secrets and/or

confidential business information to obtain work on such projects, which makes this request not

proportional to the needs of the case. How MMR performed on a particular job, for a particular

customer, has no bearing on the unjust profits that ISG has received from the illegal use of

MMR’s trade secrets and/or confidential business information. Further, even if MMR’s

performance on a particular project, for a particular customer, were relevant to the question of

damages, ISG has objected to identifying the projects that it has won since its inception, and



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thus, MMR does not know which projects it may have lost to ISG, such that any purported

complaint or issue relating to that project or customer would be even remotely relevant.

INTERROGATORY NO. 9:

        For each category of information you contend any Defendant misappropriated, identify

and describe in detail each instance in which You possessed, used, or disclosed such category of

information from Your competitor (including, but not limited to ISC Constructors), including the

type of information, the MMR individuals involved, and how the information was obtained,

used, and/or disclosed by You.

        ANSWER TO INTERROGATORY NO. 9:

        MMR objects to this request as not proportional to the needs of the case, as MMR there is

no cause of action or allegation against MMR. Further, the defendants in this case continue to

ask for information in discovery relating to some perceived issue with ISC Constructors, but

MMR did not use or receive any documents of ISC Constructors.

INTERROGATORY NO. 10:

        Identify and describe in detail each instance in which MMR (including but not limited to

Jason Templet, Vance Mitchell, Wayne Radley, John Clouatre, Mike Kee, and/or Pepper

Rutland) possessed, used, and/or disclosed documents of a competitor of MMR (including, but

not limited to, ISC Constructors) documents or information (including, but not limited to, to bid

on any project or contract), including the Identity of the MMR individuals involved in such

possession, use, and/or disclosure, the type of information possessed, used, and/or disclosed, and

how.




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        ANSWER TO INTERROGATORY NO. 10:

        MMR objects to this request as not proportional to the needs of the case, as MMR there is

no cause of action or allegation against MMR. Further, the defendants in this case continue to

ask for information in discovery relating to some perceived issue with ISC Constructors, but

MMR did not use, possess, or receive any documents of ISC Constructors.

INTERROGATORY NO. 11:

        Please Identify each person who provided information in response to these Interrogatories

and ISG’s First Set of Interrogatories Directed to MMR and, for each person, Identify the

applicable interrogatory and the information provided.

        ANSWER TO INTERROGATORY NO. 11:

        MMR objects to this Interrogatory as seeking information protected by attorney-client

privilege and attorney work product.

INTERROGATORY NO. 12:

        Identify and describe in detail each category of damages You contend You have suffered,

the amount of such damages, and how the damages are calculated, and Identify all Documents

reflecting or relating to such damages.

        ANSWER TO INTERROGATORY NO. 12:

        MMR refers to its initial disclosures regarding the categories of damages and its previous

answers relating to the category of damages that MMR is seeking in this case. Further, MMR’s

expert on damage will be providing an opinion that will explain how the damages were calculate,

and MMR will produce the documents that its expert will rely on to form that opinion.




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INTERROGATORY NO. 13:

        Identify all persons (other than MMR employees), including vendors, subcontractors,

consultants, and/or entities that were provided with the Greensheets.

        ANSWER TO INTERROGATORY NO. 13:

        MMR objects to this interrogatory as not proportional to the needs of the case. MMR

cannot know “all persons” that were provided its Greensheets because ISG and the individual

defendants in this case have misappropriated those Greensheets and have disclosed those

Greensheets to other persons. Further, MMR is comprised of thousands of employees, and there

are several who have had responsibilities in estimating or overseeing aspects of the estimating

process. The Greensheets, moreover, have been developed over several years, and this

interrogatory has no time limitation. Nevertheless, MMR’s estimating tools were not to be shared

with vendors, subcontractors, or consultants.

INTERROGATORY NO. 14:

        For each specific category of trade secrets and/or confidential information You claim

Defendants misappropriated, Identify the individual(s) at MMR who created or developed the

alleged trade secret and/or confidential information, the time and amount expended to create or

develop the alleged trade secret, and when.

        ANSWER TO INTERROGATORY NO. 14:

        MMR objects to this request as not proportional to the needs of the case and the premise

that this interrogatory is based on. Much of the trade secrets and confidential business

information in this case were developed over several years and continued to be improved. Other

trade secrets and confidential business information in this case incorporate the information

derived from other trade secrets. For instance, there are proposals that incorporate MMR pricing



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using MMR’s protected estimating tools. Further, there are thousands of documents that MMR

has identified as incorporating its trade secrets or confidential business information, and

answering the numerous questions in this interrogatory about each document is not proportional.

Nevertheless, the executive team at MMR can explain how the identified trade secrets and

confidential business information were developed. Finally, MMR did not individually track the

time spent on developing the identified trade secrets and confidential business information.



                                             Respectfully submitted:

                                             /s/ P.J. Kee
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served on all counsel of record for

Defendants by email on November 1, 2023.


                                                       /s/ P.J. Kee
                                                       P.J. Kee




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